 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar # 161566
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 3   801 I Street, 3rd. Floor
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 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     STACEY MISTLER
 6
 7
                                    IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                        )   CASE NO. CR. S-13-165 TLN
11                                                    )
                             Plaintiff,               )   STIPULATION AND ORDER VACATING
12                                                    )   STATUS CONFERENCE SETTING STATUS
             v.                                       )   CONFERENCE AND EXCLUDING TIME
13                                                    )
     STACEY MISTLER and CHARLES                       )   Date : October 17, 2013
14   CONNOR,                                          )   Time: 9:30 a.m.
                                                      )   Judge: Troy L. Nunley
15                           Defendants.              )
                                                      )
16   _____________________________________
17          The United States of America, by and through Olusere Olowoyeye, Assistant United States
18   Attorney, together with the defendant, Stacey Mistler, through Matthew C. Bockmon, Assistant Federal
19   Defender and defendant, Charles Connor, through his counsel, Linda Parisi, agree to vacate the status
20   conference date of September 12, 2013 and set the status conference for October 17, 2013 at 9:30 a.m. for
21   the following reason:
22          The reasons for this request is to allow defense counsel to review discovery, for defense preparation
23   and for meetings between the parties with the goal being to resolve the case by way of a disposition.
24          The parties agree that the Court should exclude time from computation under the Speedy Trial Act,
25   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, due to the need to provide defense counsel
26   with the reasonable time to prepare, and that the ends of justice to be served by granting the continuance
27   outweigh the best interests of the public and the defendant in a speedy trial. The exclusion of time is from
28   September 6, 2013 until October 17, 2013.
 1   Dated: September 6, 2013
 2                                                         Respectfully submitted,
 3                                                         HEATHER E. WILLIAMS
                                                           Federal Defender
 4
                                                            /s/ Matthew C. Bockmon
 5                                                         MATTHEW C. BOCKMON
                                                           Assistant Federal Defender
 6                                                         Attorney for Defendant
                                                           STACEY MISTLER
 7
     Dated: September 6, 2013
 8
                                                            /s/ Matthew C. Bockmon for
 9                                                         LINDA PARISI
                                                           Attorney for Defendant
10                                                         CHARLES CONNOR
11   Dated: September 6, 2013                              BENJAMIN B. WAGNER
                                                           United States Attorney
12
                                                            /s/ Matthew C. Bockmon for
13                                                         OLUSERE OLOWOYEYE
                                                           Assistant U.S. Attorney
14                                                         Attorney for Plaintiff
15                                                 ORDER
16          Based on the reasons set forth in the stipulation of the parties filed on September 9, 2013, and good
17   cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY
18   ORDERED that the status conference currently set for Thursday, September 12, 2013, be vacated and that a
19   status conference be set for Thursday, October 17, 2013, at 9:30 a.m. The Court finds that the ends of justice
20   to be served by granting a continuance outweigh the best interests of the public and the defendants in a speedy
21   trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ September 9, 2013
22   stipulation, the time within which the trial of this matter must be commenced under the Speedy Trial Act is
23   excluded during the time period of September 6, 2013, through and including October 17, 2013, pursuant to
24   18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T4.
25
     Dated: September 9, 2013
26
27                                                             Troy L. Nunley
                                                               United States District Judge
28                                                         2                              US v. Mistler, et al., 13-165 TLN
